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   NITED STATES DISTRICT COURT
  EASTERN DISTRICT OF PENNSYLVANIA                                                             RECEIVED
 Michael Tyrone Walker,#MA-9201                                                                       NOV 12 2015
S.C.I.Camp Hill-H-B-side

Camp-Hill,PA.17001-0200,
       (In the space above enter the full name(s) of the plaintiff(s).)                                is            612 4
                              ·against·

  Berk,s County Jail Warden                                                              COMPLAINT
 Janine L.Quigley,Warden,1287 County Welfare                                                   under the
                                         i;:"\" ~
Rd.,Lessport,PA.19533.                  Its         Correctional                   Civil Rights Act, 42 U .S.C. § 1983
                                                                                          (Prisoner Complaint)
Officer's Unknown and Mdical Staff.,et al.
                                                                                      Jury Trial:   XJ Yes   D No
                                                                                                       (check one)




  (In the space above enter the full name(s) of the defendant( s). If you
  cannot fit the names of all of the defendants in the space provided,
  please write "see attached" in the space above and attach an
  additional sheet o.f paper with the full list of names. The names
  listed in the above caption must be identical to those contained in
  Part/. Addresses should not be included here.)


  I.          Parties in this complaint:

  A.          List your name, identification number, and the name and address of your current place of
              confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
              as necessary.

  Plaintiff           Name _   _!:!~~_!i-~~~-.!-~~~~~-~~~-----------------------------------------------
                      ID#_~:23_~~-------------------------------------------------------------
                      Current Institution _S_.c...I~Camp=Hill.,.PL---------------------------------­
                      Address     P. 0. Box 200
                                 -c-aiiip-=-lliii~I>A"~i7o()1     ___________________________________________ _



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B.        List all defendants' names, positions, places -of employment, and the address where each defendant
          may be served. Make sure that the defendant(s) listed below are identical to those contained in the
          above caption. Attach additional sheets of paper as necessary.

Defendant No. 1             Name l_C!_~i!l~}~.!_ilii_~g!~_y_!__~~_!"j_':_~--------------- Sp'.eld # _________ _
                            W hPrP   rn rrPn tl;r                                        -.!_C!_!.l,._P_€_f_~-------------
                                                    Pm!" lr.;rPrl _ _ _ _ _ c_9_lJ_l}t_y__


                            Address   _JJ_~z __g_0_1:!_~!_¥_~~!!~_1::_~-~_?-~-----------------------------­
                                        Lessport,PA.19533


Defendant No. 2             Name __Co.r:r_e.cti_Ql}~l_..Q_(:fi.~_E:~J..E.!!1-f~~_!"________ Shield # _________ _
                            Where Currently Em ployed -~-~:r_k§__Q.!g_!l_t_y_J.?_LL ___________________ _

                            Address __1:._~~J__q_~~~_E_y__\i~~!_C:.~~-~~~------------------------------
                                       Lessport,PA.19533


Defendant No. 3             Name   -~~_:~==~~-~~~~-~~~=~--------------------- Shield # _________ _
                            Where Currently Emp Joyed            -~~~!_<~__g9~-~1:.L.!~~~--------------------­
                            Address      1287 County Welfare
                                      --1;~~-P~~t~I>i~19-533
                                                              Rd.
                                                          ____________________________________ _

                                       C               .      1 Off'             S t         Kirlin
Defendant No. 4             Name ----~~~~~_t:_:_~_:i~-------~C:=~..!--~--=----------- Shield # _________ _

                            Where Currently Employed             --~~I-~~_g_s>~!:_!_!X_J.:..~!~--------------------­
                            Address __   !_?.~~-g_?~_r:_~~-~-~~!~!"-~-~~~------------------------------
                                       Lessport,PA.19533


Defendant No. 5             Name __G_Q!:~~-c:_~!~E~l_Q!!_~<:~!-'-~~=~~-~~=_'.~-~=~- S hie Id # _________ _
                            Where Curren ti y Employed _B~_r_l~-~-C.9_\!.l}:!;;y__.[l,!j,]._____________________ _
                            Address     1287 County Welfare Rd.
                                      -1~-;;P~~-t~PA~-1-9533-~--~t-8_1_:                     ___________________________
II.       Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.        In what institution did the events giving rise to your claim(s) occur? -----------------------
      Berks County Jail
--------------------------------------------------------------------------------------
B.        Where in the institution did the events giving rise to your claim(s) occur?                 ------------------
__?_l:!_Q~~I_Lf1~~j._c:_~!_];l_e_Q~~!.!'.!.~~!~ __ _Q_~!1_:-~l~~l<----------------------------------------

C.        What date and approximate time did the events giving rise to your claim(s) occur? -----------
     3-15-15 , 4 PM
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                D.           Facts: Cha_Blin
                                    Mast, had told me over I could have my Religious beads as
   I
  What
                           --- ----------------------------------------------------------------------
habpened       1 ong as they are all white. See Exhibit A attached. I wrote to him and
  tt   you?    tn-ey-gave-me---a:11ar=-cr-nme-:--;---;hi8--;a:5-c,-r1-0r---arounct-3=-Tt.:rs-w-as--w-11en_T_got- it
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   I
  Who           above,threaten me to take the religious beads off. Violation of my First
   I did
  what?
   I
                Amendment Rights and 14th Amendment Rights of the U.S.Constitution.
                -------------------~-----------------------------------------------~-----------------

                        On 8/23/13 I was in my Block Shower at Berks County jail and because of
              my--M;d~~~i-'P-;;bi~~;~r-~;ii~--~~<l--;piit:--~1-1f;~<l-~-:Per;:~-'T"h"e_s_1lower1-s-at--Berks-

   I
                County Jail did not have any railings,non-slip mats or any safty bars
   lwas
  anyone
   [else
                _?3-.__2E_9_v_:h_~~~--~-1.?~~-J.!1__~!9J-~~!9.!1__~~-E1..X.._~~~-1:~~-~-~~~~~~~~---~~~~!-~~-~~1:_1: __ _
involved?       Amendment and Federal Code. See Exhibits A through H. attached.
   I
                _The_.GI:e.iYfillC..e_P.:r:ru:..e.dm:.e_i.rL_Ber.ks._C.rum.ty_.JaiL_i_.cLil_l_~9l__Q_~~.?A12.~-.:tli_~---­
                     Staf f at the Jail Throws them out and you never get an answer.

W~o else
 sa w what
   1
ha1pened?




              III.      Injuries:

              If you sustained injuries related to the events alleged above, describe them and state what medical
              treatment, if any, you required and received.------------------ _
                     lnj uries sustain' I have very bad head achs -and._T_<lTcf-req-uire--to-MedTcal
               b~i--t"h";;--;-;~i<l--~~i-g-;;;--;ti~ii-;~~-J::--h"~~~--bi~i--0~is--peri-o<ls_a_11-01--the--t-iffie.




              IV.       Exhaustion of Administrative Remedies:

              The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that" [n]o action shall be
              brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
              prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
              available are exhausted." Administrative remedies are also known as grievance procedures.



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  A.        Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

            Yes   _1__   No

  If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
Be'i-vk~tsC~~gf;isJ~i:our claim(s). <Y~f\'{\:)\ ( ~\>"\
  -------------------------------------~-----~------------------------------------------


  B.        Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
            procedure?

            Yes   A- No ____ Do Not Know _ _
  C.        Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
            arose cover some or all of your claim(s)?                    [ ~

            Yes          No       Do Not Know        Xx   -   a(J() °"'A,J,~
                                                                      rv~
                                                                             rJ~S          l
            If   Y::~~hic:::~m(s)? --~o~IJ__J)jl-h__~~\.L~t{___J_~~---S-_lf1_L~L____
  D.        Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

            Yes   i..__ No~--
            If NO, did you file a grievance about the events described in this complaint at any other jail,
            prison, or other correctional facility?

            Yes          No   _~_X

  E.        If you did file a grievance, about the events described in this complaint, where did you file the
            grievance?
                               Could not Berk's would not answer the hand                                 w~·tten    one I
       filed------------------------------------------------£)""-r·--~-----------                              -----------
            t.        Which claim(s) in this complaint did you grieve?         _L\.t.J!~...u..U~-;:;,1---fi;_u .:::_S.~:i_bh•hi{     \"
            ----~3_1:.~~-:1-~t:-~~-c-~~~~--t:_~~L-~~~~_?__r:_~_!.__~r:_~~~-:_-~y--~~~_!.!_i:_r:__~_?-~~~~j.-~t:~---
            2.       What was the result, if any? _fieY~L-&Q.t__<!I!J_L~S.1!.911_12.e ... .tli_~_G.aJI...:r:.ds__s_q_;Ld_J::_lie.y
            ___ !!_i!_i:_~-~~-c:I_!E~-g~~_p-~~~E_t_~~!~E_<!__~.?~~~-.!1_0_1:._~~_y_i:__~~--~-~E_i_i:_~~E~_i:__!EL~ ·
            3.        What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to



            =r!l~~k~~~o~~~~=-~~-====~~~~~~===


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F.        If you did not file a grievance:



           1.        If there are any reasons why you did not file a grievance, state them here:1__
                       I filed request slips to get a Grievance form and Gaurds would
                                                                                                                       .:BJJ._o\1 41~ ff.5
                       not give me one,so I wrote the Complaint's on Request slips.
                       The Gaurd's,Defendant's said they threw the Request in the trash.



          2.         If you did not file a grievance but informed any officials of your claim, state who you

                     informed, when and how, and their response, if any:_              T_9_1_<!__~2'- i::_~l~-t~~~~--~12,~_!_hey
                    c-~~~--~-~-~~~:_;=-~f~d:_~~f:~~t=L~-4-~~T(
                    __ll1.lt__~~----:Qje J:~-~-L---1.d___-:t:!\_l__~~.t~-----------
                                                     ____




G.        Please set forth any additional information that is relevant to the exhaustion of your administrative
          remedies. _QQ§_!;_!'_l!i;.:t.!-9_I!._Q_!__J!!~!j._<;_~_l>_y__(i!L.9Xt!:~JA!=1-9_<;.(i1__9_Q.Y~.!"_!l._l!!,~!!.!:_A.l:!.~--

         ~~-~~~~-_:3-~~~~~~~3-~~-.Il:1:__~~~~~:-_!>_~1~~_:3-~_!_~-J.~~:--r----------t-­
          :::.J___qj~D---~-~~-----()____ _ 1.___ .C_,li_<lf-_J_"\7'--~~-----~~JJ~--~f-M4-bLLJ




Note:     You may attach as exhibits to this complaint any documents related to the exhaustion of your


          ""m'"S;~, GtH A--t1 fl)!~ h 1< - 'a+l.cLJ
v.        Relief:


State what you want the Court to do for you (including the amount of monetary compensation, if any, that

you are seeking and the basis for such amount). ------------------------------------------------
---~~1--~~!-~~~~£_i_~!_Q~~~~~~--~9!__~~~-!._~!~-~1::~_i_o_:i::__~~E:~~~~-'--~~-_E,~~-i~1::.-~E~-
  Attorney I will need to get Discovery and Witness I will have to Depose.

_-!_~~I\JC:.~~-~-~C:.~~-\-~-.!'~1::~~-'C.~-Q~~~~~-~-------~-~------------------------------
--~I..-~~-~~~--~!-~-~-1~~-&1-t __C;'.Q..s:'_________________________________ _



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         VI.        Previous lawsuits:


         A.        Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                   action?
Ithese
  On

llaims
                    Yes          No   _J__
          B.        If your answer to A is YES. describe each lawsuit by answering questions l through 7 below. (If
I                  there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
                   the same format. )




                   :'''"tiff   ;;i:~~==,==-------------------------------
                   Defendants ___ ).J_J_/i ___________________________________________________________ _


                   2.          Court (if federal court,. name the district; if state court, name the county) --------------

                   3.          Docket or Index number----------------------------------------------------

                   4.          Name of Judge assigned to your case -------------------------------------------

                   5.          Approximate date of filing lawsuit---------------------------------------------

                   6.          Is the case still pending?   Yes     No

                               If NO, give the approximate date of disposition ----------------------------------


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                   7.          What was the result of the case? (For example: Was the case dismissed? Was there


                               ~~-g-~::~~~:::~~~~:~_::_~:-~:~-~::~~~~~:_-p_JA~~~~~~=~~~~~~=~~~~~~~~~~
          c.        Have you filed other lawsuits in state or federal court?
Ion
other               Yes ____     No~--
tlaims
          D.        If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                    there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                    the same format.)




                   :loiotiff   ~~~~16~ =~=:~::·::
                   Defendants ___     -1J 1                   __________________________________
                                             ./i_________________________________________________________ _
                   2.          Court (if federal court, name the1·strict; if state court, name the county)-------------

                   3.          Docket or Index number ___ j.J_     ~------,-.-----------------------------------
                   4.          Name of Judge assigned to your case _JJ..JA.----------------------------------
                   5.          Approximate date of filing lawsuit ---~JJt ________________________________ _

                   6.          Is the case still pending?   Yes       No

                               If NO, give the approximate date of disposition----------------------------------

                   7.          What was the result of the case? (For example: Was tp~ 4aw dismissed? Was there
                               judgment in your favor? Was the case appealed?) __ }JJ_Jj_______________________ _




         I declare under penalty of perjury that the foregoing is true and correct.

         Signed   this-~-- <lay of------------------------------• 20_1.5_.

                                                              Signature of Plaintiff    --~_u_~---------
                                                                     Inmate Number      _U_A__:-__9_~Q_l____________________
                                                                  Institution Address   _j~-:=_~_.,e_ld:.<tJj___________ _
                                                                                        ~~p_J.:l2"'--~-()_()________________ _
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                                                   BERKS COUNTY    5 SYSTEM
                                                                JAIL Filed 12/14/15 Page 8 of 18
                                                 INMATE COMMUNICATION FORM·

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 D Warden D Deputy Warden                                                                 0  Treatment                         D   Records                                           D     Medical
 D Kitchen D Supervisor                                                                   rulchaplain                          D   Inmate Accounts
 D Property D Education/Library                                                           D         Mail Room                  D   Commissary

~, rvVriite·l~gibly·,·sl:lpply all rel_E;lvant details: Forms which a~~(unclear or contain demeaning language, threats
 or profanity will nof be addre_ssed. ONLY ONE TOPIC P~R COMMUNICATION:.                                                                                       -
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                                                                              Exhibit
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                                                   BERKS COUNTY
                                   Case 5:15-cv-06124-EGS       JAIL
                                                          Document 5 SYSTEM
                                                                     Filed 12/14/15 Page 9 of 18
                                                          INMATE COMMUNIC.ATION FORM

                                                                                                BCJ # C). C. 06·~~)
lnm13te Name         M~l~\u.Y1W~\'ft'*t                                                     Unit/Cell# 't·lo5      .                  DateDl) I fl/I~                      ·
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 TO;         (Select only one of the following,                 selecting more than ONE box will result in your communication being filed, unanswered.}


 D         Warden      D Deputy Warden                       D Treatment                        D Inmate Telephones                       D Inmate Accounts
 D                     ~ Medical                             D Education   D SOG Commander                                                D _ _ __
 D
           Custody
           Kitchen     ~Chapel
                               1                             D Commissary, D   Booking/Mail/Property
                                                                 ,..       j .         •  j:·


 Write legibly, supply all relevimt details. Forms which arei1,m61ear or contain-demeaning language, threats·qr· ... _ . ,,........                                                 ~
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                                                BERKS COUNTY
                                Case 5:15-cv-06124-EGS       JAIL
                                                       Document 5 SYSTEM
                                                                  Filed 12/14/15 Page 10 of 18
                                               INMATE COM_MUNIGATION FORM

                                                                                                      BCJ         #'J.005-~~
 I nm,ate NameM-=>c   ho.I(,\ \0/:)                                                               Unit/Cell#~If;?;;?,
               '
  TO: (Select only one of the following, selecting more than ONE box will result in your communication being filed, unanswered.}
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 D Warden D oepdt9, wa/Cien                                                  D Treatment  D               Inmate Telephones                                 D Inmate Accounts
 D Custody D Medical                                                         D Education  0               SOG Commander                                     O _ _ __
 D Kitchen           rsfctiapel                                              D Commissary D               s·ooking/Mail/Property
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 Write legibly, suppl'y,.all relevant details. Forms which are unclear or contain demeaning language, threats or
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                                                                                              Exhibit C
                                                                                                                                         BERKS COUNTY PRISON
                                                      Case 5:15-cv-06124-EGS Document 5 Filed 12/14/15 Page 11 of 18
                                                                         MISCONDUCT CITATION                                                                                                                                                                                                                                    ·..>
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 Officer Report

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 Actions Pending Dl1po1ltlon
 0 Su~ject Locked In Own
~Subject Transferred To
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                                                                                 cp· _/                                                                                          0 Warning Is Issued
                                                                                                                                                                                 0 Material(s) Confiscated
 0 Subject Removed From Job Assignment.                                                                                                                                          0 Other A c t i o n - - - - - - - - - - - - - - - -
                                                                                                                           \
Witnesses



Inmate Notification
Copy Delivered To Inmate By

Name        A_,:;(.ii~·)'.
Staff Withess    """->..ifw..o-=-.·'Y"""J"----'-.,=C'..="$-~--r--------­                                                                                                        0 · Informally Adjusted
                                                                                                                                                                               ~Referred To Disciplinary Committee
lnmate     Signature \(. ;f.{ '.) J..rl" l :S . re{'~ ,:./ (,. / u                                                                                                              0       Notation
                                                  /        "'"                         (Ackno~ledges Receipt;pf Copv.)·

                                                                                White Copy - Treatment
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  CorEMR- Michael Tyrone Walker:: Emergency Flow Sheet I v5.0.0                                                                     Page 1of4
                    Case 5:15-cv-06124-EGS Document 5 Filed 12/14/15 Page 12 of 18



      Emergency                     JMS ID:               2005-2523       Location:              D: 203
                                    SSN:                  XXX-XX-XXXX     Ethnicity:
      Flow Sheet                    DOB:                  01/24/1982      Interviewer:           LPN Brown, LPN, Kayla (08/10/2014 14:09)
                                    Age:                  33
                                    Agency:               County
     Michael Tyrone
     Walker
     #2011-6392

   Current Interviewer       Date             Question                                             Answer
           LPN
                                       Date and Time
     0     Brown,
           LPN, Kayla
                      08/10/2014 14:09
                                       of Incident:
                                                                                             08/09/2014 1




     •     LPN
           Brown,     08/09/2014 22:11
                                          Date and Time
                                                                                             08/09/2014 19:38



     .
                                          of Incident:
           LPN, Kayla
           LPN
                                       Date and Time
           Brown,     08/09/2014 20:23                                                       08/09/2014 20
                                       of Incident:
           LPN, Kayla
           LPN
                                       Location of
    0      Brown,
           LPN, Kayla
                      08/09/2014 20:23
                                       Incident:
                                                     A unit shower

           LPN
                                       Medical Staff
    0      Brown,
           LPN, Kayla
                      08/09/2014 20:23
                                       Responding:
                                                            K. Brown LPN, A. Eckel LPN, C. Seubert LPN

           LPN
                                        Correctional
    @l     Brown,     08/09/2014 21 :12
                                        Staff present:
                                                            CO Ruffner, CO Bower, SOG Kirlin, SOG Corderre, SRGT Gonzalez
           LPN, Kayla
           LPN
                                         Correctional
    <II    Brown,     08/09/2014 20:23
                                         Staff present:
                                                            CO Ruffner, CO Bower,
                                                                                         A   '
           LPN, Kayla
                                                             Medical assistance called at approx. 1938 on A unit in the shower for an
                                                             unresponsive pt. Reports fr'om1unit officer pt was in the shower and you could
                                                             hear the pt fall to the ground. When medical arrived pt was sitting against the
                                                             shower wall, eyes closed. Called pt's name multiple times until pt finally opened
                                                             eyes and looked around. Asked pt if he knew where he was, pt just looked
                                                             around staring at people. Again asked pt if he could talk to medical, pt nodded
                                                             head no. Vital signs obtained. BP 180/112 P 97 Pox 98%. Pt was assisted to a
                                                            sitting position in a chair. Pt stating "who are you people, I don't know who you
                                                            people are. Where I'm at?" Asked pt to state his name. Pt stated his name is
                                                            "Leondiva." Asked pt what year it was pt stating "1977." Pt stating the last thing
                                                            he remembers is "being in a boat with lots of chains and the mice were my pets."
                                                            Pt complaining of chest pain in left chest area that felt like a poking sensation. Pt
                                                            was able .to walk to wheelchair independently. Pt was escorted to medical. In
                                                            route to medical pt was looking at the hall walls and the ceiling stating "what is
                                                            this place where am I?" Pt was escorted to medical bay area. Pt layed down on
          LPN                                               medical bay without assistance. Pt began smiling. Asked pt his name, pt stating
                                         Event that
    @     Brown,     08/10/201414:09
                                         occured:
                                                            "Michael Walker." Pt was alert and oriented x 4. Pt stating "I'm Michael Walker
          LPN, Kayla                                        now, I am back. " Pt stated that atleast once a month he "passes out, and
                                                            another person comes into his body. Sometimes, from what other people that are
                                                            around me tell me, when this happens, a british women's spirit comes into me
                                                            and I begin talking french. I don't know French. I don't speak that, but this lady
                                                            does." Pt stating he has been trying to talk to MH about this but they are not
                                                            aware of this. Pt stating he has PTSD, bipolar, split personality and
                                                            schizophrenia. Pt stated he was seen multiple times at Community Center in
                                                           Philly for this. Pt stated when he is at home when this happens a family member
                                                           will take him to the hospital and he is always diagnosed with bipolar disorder. Pt
                                                           requesting to see MH. Pt stated he has "flash backs of him being molested in
                                                           front of his mother, his mother was raped and given drugs, and his brother shot
                                                           the guy". Pt denied any thoughts of self harm. Pt stating he was recently at court,
                                                           fired his lawyer, hiring a new lawyer, and fighting his case. EKG performed. Pt
                                                           know denies any current chest pains. BP 140/90 P 78 Pox 99% blood sugar 69.
                                                           One milk was given approx 5 minutes later blood sugar was 71. Will notify
                                                           provider.


   •      LPN
          Brown,
          LPN, Kayla
                     08/09/2014 22:11    Event that
                                         occured:
                                                           Medical assistance called at approx. 1938 on A unit in the shower for an
                                                           unresponsive pt. Reports from unit officer pt was in the shower and you could
                                                           hear the pt fall to the ground. When medical arrived pt was sitting against the



                                                               Exhibit E
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                                                     BERKS COUNTY
                                     Case 5:15-cv-06124-EGS        JAIL
                                                            Document    SYSTEM
                                                                     5 Filed 12/14/15 Page 13 of 18
                                                              INMA.TE COMMUNICATION FORM                                                                              \
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  TO:         (Select only one of the folfowmg, selecting more than ON{: box will result in your communication being file'd, 1Jnanswered.}

 D Warden D Deputy Warden                                      D Treatment  D Inmate Telephones
 D Custody D Medical                                           D Education  D SOG Commander
     '
 D Kitchen D Chapel                                            D Commissary D Booking/Mail/Property




 Notb: Writing in "resp~nse" se~;ion will result in form
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Datl 1-} Q)-}             b Staff Member         (Print)   caw.                  J1JJffa-(:~       and
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BCJ~      501 U, 3-2014                          Original - Treatment File                        Canary - Return to inmate with response

    I
  CorEMR- Michael Tyrone Walker:: Emergency Flow Sheet I v5.0.0                                                           Page 4 of 4
                  Case 5:15-cv-06124-EGS Document 5 Filed 12/14/15 Page 14 of 18

     0    LPN
          Brown,
          LPN, Kayla
                                         Was CPR
          LPN                            initiated? If
     0    Brown,     08/09/2014 22:11    YES, provide      @1    No
          LPN, Kayla                     time it was
                                         started.
          LPN
                                         Compressions
     ~    Brown,     08/09/2014 22:11
                                         performed by?
                                                       n/a
          LPN, Kayla
          LPN
                                         Ventilations
     0    Brown,
          LPN, Kayla
                     08/09/2014 22:11
                                         performed by?
                                                       n/a

                                         Was an AED
          LPN                            applied? If
     rO   Brown,     08/09/2014 22:11    YES, provide      I)    No
          LPN, Kayla                     time it was
                                         applied.
          LPN                            Time patient
     0    Brown,
          LPN, Kayla
                     08/09/2014 22:11    was sent to
                                         Medical:
                                                           2000

          LPN
     @    Brown,     08/09/2014.22:11    Via:              ~ Wheelchair
          LPN, Kayla
                                         Was 911
          LPN
                                         Called? If YES,   (ty No
    @>    Brown,     08/09/2014 22:11
                                         provide time .
          LPN, Kayla
                                         called.
          LPN                            Did the patient
    0     Brown,     08/09/2014 22: 11   remain on the     Ct!   No                 pt was moved to N unit per verbal order
          LPN, Kayla                     block?

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                                                                  Exhibit   G




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                   Case 5:15-cv-06124-EGS Document 5 Filed 12/14/15 Page 15 of 18
                                                                                             !Page 1 of 8




                                    Just what *is* Santeria?            0000




  History of Santeria
  Tae Orishas
  Initiations
  Divination



 What is Santeria?
 Just what is santeria? 'fo many it is a cult of animal. sacrificing,devilworshipping fanatics. This is
 how the media has portrayed this most misunderstood religion. Nothing could be farther from the
 truth.

 In reality santeria is an old world religion rich in symbolism that contains a great deal of
 knowledge, power and beauty.It originally comes°from Africa and more precisely the Yoruba
 people of what is now present day Nigeria. It is also one of the most magically powerful l"eligions in
 existence today. We would strongly recommend santeria to anyone interested in engaging in the
 arts and looking for a spiritual religion with a heavy emphasis on participation.
                '                           .                                                                -~
 Santeria is a Spanish term that roughly translated means "worship of the saints". There is a strong
 conn~ction,if only on the surface, with Catholicism. It is a religion where the deities actually
 descend-to earth to help and console their followers. fo this respect it actually affords one the
 privillt=ge of comi.ug i.utu contact vrith. the   ~ivi:n.e.


 Santeria is also a religion of initiation. One must pass through 3 different levels of initiation before
 one can be called a san.tero or priest in the religion. The deities or sailllts in santeria are called
 orishas. Just as in the catholic faith where there is one god with his emissaries the saints, so too does
 santeria have one god with .his many orishas. The orishas cover every aspect of nature and human
 behavior and have distinct areas of control in those behaviors. There is also a detailed system of
 div:ination affording one the opportunity to confer directly with the orishas in all matters. These
 consultations are often performed by a: babalawo or high priest in the religion.

 The subject that has caused the most negative publicity about the religion is animal sacrifice. While
it is true that on occasion animals,usuaHy chickens, _are sacrificed in a ceremony they are usually
eaten by the santeros afterward .. These sacrifices are done on rare occasions only as the orishas
would be angered if animals were killed indiscriminately. As santeria is a. closed religion the
santeros do not come forth to explain the need for animal sacrifices and thus the misconception is
perpetuated. On the surface santeria has a seemingly strong connection with Catholicism due to the
various images of the Catholic saints. These images are in part due to the history of santeria when
the saints were actually the embodiment of the orishas. Those adept in the religion no longer have a
need for this imagry.

All santeros are accomplished herbalist, as herbs and :flowers make up the majority of ingredients
used in magical rituals. The magic would fall under the term of sympathetic magic. The basic
premise behind the undertaking of a magic spell is to gain the "ashe" or power of the saints to
accomplish ones goal. Everything is based on ashe and the steps one tj,,kes to obtain it. Ashe is .
bestowed on mankind by God and it is the orishas who as the repositories of ashe..tran~for it to
man. This involves a system of sacrifice or offering called ebbo. Here one would m:;tke::~h(qffering to
the orisha in return for the o:rishas ashe used to solve a problem. Ebbo is also made to the' orisha
                                                       Exhibit H
                                                           BERKS COUNTY
                                        Case 5:15-cv-06124-EGS          JAIL
                                                                 Document 5 SYSTEM
                                                                             Filed 12/14/15 Page 16 of 18                                                                                                        \
                                                                                      INMATE GRIEVANCE FORM




                                         >' ... ; ' ' .         i:Kjfl-1;>,..                           .         .       .       .
                               . '                 I     1'
                                                              ~3'fristructions: Refer to the inmate handbook for information on the inmate grievance system.
                                                                                       •                                   •
                                ~   f



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    f rievance Response:                                                                                                                                              . ~~




                                                         G;ievance #       asb l/- Ir              J_ ~ate                          Posted

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   Oiiginal: Treatment File                       Canary: Return to inmate with response                                                                              FORM# REC!20 (REV 2110)



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= 1uthor: VanBilliard, Daniel
= IDate:   4/9/2015 08:45:51
= Ihmate:
   I
          WALKER, MICHAEL TYRONE
= Rjermanent Number: 2005-2523


15 Refusal of orders: l am finding you guilty of refusal of orders based on the Officer ordering you several times to show him your beads. He
weAt as far as to explain to you that he only needed to see them. You replied," No" and did not show them to him. You instead demanded to
see \a supervisor.

1621Intcrfering with staff duties: I am finding you not guilty of interfering with staff duties based on the charge being repetitious to 154 Refusal



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